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                                           Attorneys for Plaintiff Alaska Pacific Leasing Company

                                                                IN THE UNITED STATES DISTRICT COURT

                                                                     FOR THE DISTRICT OF ALASKA

                                           ALASKA PACIFIC LEASING COMPANY,

                                                        Plaintiff,
1407 West Thirty-First Avenue, 7th Floor
LAW OFFICES OF ROYCE & BRAIN




                                                vs.
      Anchorage, AK 99503-3678
      Telephone: (907) 258-6792
       Facsimile: (907) 276-2919




                                           MB AMERICA, INC.,

                                                        Defendant.
                                                                                                    Case No. 3:15-cv-00196-JWS


                                                                            STATUS REPORT
                                                  COME NOW the parties, by and through their respective counsel of record, and

                                           submit the following status report in response to the Court’s Status Report Order dated

                                           May 9, 2016 at Docket No. 6.

                                                  The parties have resolved all claims and intend to file a Stipulation for

                                           Dismissal with Prejudice upon execution and delivery of all settlement documents,

                                           which will occur prior to May 20, 2016.

                                                  //



                                                  //



                                                Case 3:15-cv-00196-JWS Document 7 Filed 05/12/16 Page 1 of 2
                                                      DATED at Anchorage, Alaska this 12th day of May, 2016.

                                                                                 LAW OFFICES OF ROYCE & BRAIN
                                                                                 Counsel for Plaintiff


                                                                                      By:   /s/ Jason J. Ruedy            .




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                                                      DATED at Anchorage, Alaska this 12th day of May, 2016.

                                                                                 SEDOR, WENDLANDT, EVANS & FILIPPI, LLC
1407 West Thirty-First Avenue, 7th Floor
LAW OFFICES OF ROYCE & BRAIN




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                                                                                      By:   /s/ John C. Wendlandt                .




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                                                                         CERTIFICATE OF SERVICE

                                            I certify that on May 12, 2016, a true and correct copy of the foregoing document was
                                            served electronically on the following:

                                            John C. Wendlandt
                                            Sedor, Wendlandt, Evans & Filippi, LLC
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                                            /s/ Jason J. Ruedy                    .




                                           Status Report
                                           Alaska Pacific Leasing Co. v. MB America, Inc.
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